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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                             Civil Action No. _________________________


 ULISES FERNANDEZ MIRO, an individual,
         Plaintiff,
 v.
 JOHN DOE, an individual;
 and BINANCE HOLDINGS, LTD. d/b/a Binance, a foreign company;
       Defendants.
 ________________________________________/

                                       COMPLAINT FOR DAMAGES

         Plaintiff ULISES FERNANDEZ MIRO, an individual (hereafter referred to as “Plaintiff”),

 by and through undersigned counsel, hereby sues Defendants JOHN DOE, an individual; and

 BINANCE HOLDINGS, LTD. d/b/a Binance, a foreign company (“BINANCE”); for damages. As

 grounds therefor, Plaintiff alleges the following:

                                       PRELIMINARY STATEMENT

         1.       This action arises from a fraudulent scheme that sought to, and ultimately did, steal

 Four Hundred Eighty-Eight Thousand Dollars ($488,000.00) worth of cryptocurrency from Plaintiff.

         2.       JOHN DOE played a material role in the scheme to steal Plaintiff’s assets and

 currently possesses -- in an account maintained at cryptocurrency exchange BINANCE -- Plaintiff’s

 stolen property.

         3.       Plaintiff brings this lawsuit to recover his stolen assets.




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                                 PARTIES, JURISDICTION AND VENUE

                                                     THE PARTIES

                                                         Plaintiff

         4.       Plaintiff ULISES FERNANDEZ MIRO is an individual domiciled in Palm Beach

 Gardens, Florida, is a citizen of the state of Florida, and is sui juris.

                                                      Defendants

         5.       Defendant JOHN DOE is an individual and, upon information and belief, is sui juris.

         6.       Defendant BINANCE is a foreign company which, upon information and belief is

 registered and headquartered with its principal place of business in the Cayman Islands, though it

 professes to not have a principal executive office. 1 BINANCE is a digital currency wallet and money

 transmitter services platform where merchants and consumers exchange digital currencies like bitcoin

 and Ether.

         7.       BINANCE refers to itself as an “ecosystem” comprising several interrelated

 components. The company’s Terms of Service define BINANCE as follows:

              Binance refers to an ecosystem comprising Binance websites (whose domain
              names include but are not limited to https://www.binance.com), mobile
              applications, clients, applets and other applications that are developed to offer
              Binance Services, and includes independently-operated platforms, websites and
              clients within the ecosystem (e.g., Binance’s Open Platform, Binance Launchpad,
              Binance Labs, Binance Charity, Binance DEX, Binance X, JEX, Trust Wallet,
              and fiat gateways).

 Among the platforms/websites within the BINANCE ecosystem is Binance.US, which serves

 customers in the United States, including in this jurisdiction. Collectively, all of these components of

 the “ecosystem” constitute BINANCE.




 1
   Paddy Baker, Binance Doesn’t Have a Headquarters Because Bitcoin Doesn’t, Says CEO, COINDESK (May 8,
 2020), https://www.coindesk.com/binance-doesnt-have-a-headquarters-because-bitcoin-doesnt-says-ceo.
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        8.       Additionally, numerous public reports have identified BINANCE as perhaps the largest

 vehicle in the world through which cryptocurrency assets are laundered by U.S. residents, to wit:

                 Binance Holdings Ltd. is under investigation by the [United States] Justice
             Department and Internal Revenue Service, ensnaring the world’s biggest
             cryptocurrency exchange in U.S. efforts to root out illicit activity that’s thrived
             in the red-hot but mostly unregulated market.
                           *                             *                            *
                The firm, like the industry it operates in, has succeeded largely outside the
             scope of government oversight. Binance is incorporated in the Cayman Islands
             and has an office in Singapore but says it lacks a single corporate headquarters.
             Chainalysis Inc., a blockchain forensics firm whose clients include U.S. federal
             agencies, concluded last year that among transactions that it examined, more
             funds tied to criminal activity flowed through Binance than any other crypto
             exchange. 2

        9.       Furthermore, BINANCE publicly announced in January 2022 that it was teaming up

 with the National Cyber-Forensics and Training Alliance (NCFTA) -- an American non-profit entity

 with offices in spanning across the United States -- to “fight against cybercrime, ransomware, and

 terrorism financing.” 3 According to Tigran Gambaryan, Vice President of Global Intelligence and

 Investigations at BINANCE:

                 Joining the NCFTA is an important step in our joint fight against cybercrime,
             securing the cryptocurrency ecosystem for the entire community. Binance aims
             to be the leading contributor in the fight against cybercrime, ransomware, and
             terrorism financing. We will continue our fight against cybercrime and increase
             our level of cooperation and transparency through our partnership with the
             NCFTA. 4



 2
   “Binance Faces Probe by U.S. Money-Laundering and Tax Sleuths,” Bloomberg, May 13, 2021,
 https://www.bloomberg.com/news/articles/2021-05-13/binance-probed-by-u-s-as-money-
 laundering-tax-sleuths-bore-in.
 3
  “NCFTA onboards crypto exchange Binance to fight against cybercrime,” CoinTelegraph, Jan. 18, 2022,
 https://cointelegraph.com/news/ncfta-onboards-crypto-exchange-binance-to-fight-against-
 cybercrime
 4
   “Binance Becomes the Blockchain and Cryptocurrency Industry’s First to Join the National Cyber-
 Forensics and Training Alliance (NCFTA)”, PR Newswire, January 18, 2022,
 https://www.prnewswire.com/news-releases/binance-becomes-the-blockchain-and-cryptocurrency-
 industrys-first-to-join-the--national-cyber-forensics-and-training-alliance-ncfta-301462332.html.
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 The press release related to this announcement even states: “To date, Binance has cooperated with

 hundreds of criminal investigations, which have led to high-profile arrests, including a cybercriminal

 group laundering $500M in ransomware proceeds.” 5 “Cooperation” only takes place voluntarily,

 which BINANCE clearly has done in “hundreds of criminal investigations” and through its

 “partnership” with the American-based NCFTA and its activities throughout the United States,

 including -- upon information and belief -- within this jurisdiction.

           10.   At all times material hereto, JOHN DOE has maintained -- and continues to maintain

 as of the date of this filing -- an account at BINANCE in which JOHN DOE holds the cryptocurrency

 stolen from Plaintiff.

                                        Other Liable Persons/Entities

           11.   In addition to Defendants, there are likely other parties who may be liable to Plaintiff,

 but about whom Plaintiff currently lacks specific facts to permit him to name these persons or entities

 as party defendants. By not naming such persons or entities at this time, Plaintiff is not waiving his

 right to amend this pleading to add such parties, should the facts warrant adding such parties.

                                           JURISDICTION AND VENUE

           12.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332

 because the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00), exclusive of

 interest, costs and attorneys’ fees, and is an action between citizens of different states.

           13.   This Court has personal jurisdiction over Defendants because they: (a) operate,

 conduct, engage in and/or do business within this jurisdiction; (b) committed a tort in this jurisdiction;

 and/or (c) reside in this jurisdiction.




 5
     Id.
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                                                Specific Jurisdiction

         14.     This suit arises out of or relates to Defendants’ contacts with this forum.

         15.     Plaintiff is a resident of Florida, and he suffered harm in part because BINANCE’s

 unreasonably lax AML and KYC procedures encouraged hackers by providing them a marketplace

 where they could easily launder stolen digital assets.

         16.     Plaintiff’s claims also involve harm suffered in Florida, as his cryptocurrency assets

 were stolen and laundered through computer servers in Florida.

         17.     Plaintiff’s claims also arise out of or relate to forum-related activities. For example,

 Plaintiff’s conversion claim arises out of or relates to JOHN DOE stealing, and BINANCE taking

 possession of, Plaintiff’s stolen cryptocurrency when it was transferred from Plaintiff’s possession in

 Florida to the BINANCE exchange.

         18.     Exercising jurisdiction over Defendants in this forum is reasonable and comports with

 fair play and substantial justice.

                                      General Jurisdiction over Binance

         19.     This Court may assert general jurisdiction over a corporation if the corporation is

 incorporated in Florida, if the corporation has its principal place of business in Florida, or if the

 corporation’s affiliations with Florida are so “continuous and systematic” as to render it essentially at

 home here.

         20.     As noted above, BINANCE voluntarily works with American law enforcement

 agencies to “fight against cybercrime, ransomware, and terrorism financing.” Upon information and

 belief, those law enforcement agencies include some in Florida.

         21.     Moreover, BINANCE uses various third-party companies, including companies

 located within this judicial district, to enable what BINANCE calls its “ecosystem” to function.




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         22.       BINANCE makes clear in the “Binance Terms of Use” that its users must agree to

 that it considers its fiat gateways, including Binance.US, to be part of the “ecosystem” that defines

 “Binance.” After expressly defining “Binance” to include “fiat gateways” the Terms of Use also

 explain that the fiat gateways are part of the services BINANCE provides:

               Binance Services refer to various services provided to you by Binance that are
               based on Internet and/or blockchain technologies and offered via Binance
               websites, mobile applications, clients and other forms (including new ones
               enabled by future technological development). Binance Services include but are
               not limited to such Binance ecosystem components as Digital Asset Trading
               Platforms, the financing sector, Binance Labs, Binance Academy, Binance
               Charity, Binance Info, Binance Launchpad, Binance Research, Binance Chain,
               Binance X, Binance Fiat Gateway, existing services offered by Trust Wallet and
               novel services to be provided by Binance.

 In short, BINANCE’s Terms of Use inform consumers that a “Binance Fiat Gateway” -- one of which

 is San Francisco-based BAM d/b/a Binance.US -- is a service provided by BINANCE.

         23.       Furthermore, in February 2022, BINANCE launched several celebrity-fueled

 advertisements during the Super Bowl to solicit accountholders in the United States, including in this

 jurisdiction.

         24.       According to a BINANCE press release:

                   The global campaign – featuring global superstar and entrepreneur J Balvin,
               all-star basketball forward Jimmy Butler and mixed martial arts fighter Valentina
               Shevchenko – focuses on encouraging consumers to do the research and learn
               crypto themselves, so they can be empowered and accountable for their own
               financial freedom and success.

                  On February 13, the day of the Big Game, for every commercial aired during
               the game with a celebrity “talking crypto”, viewers are encouraged to sound
               Binance’s #CryptoCelebAlert at CryptoCelebAlert.com to claim one of 2,222
               POAP NFTs featuring Jimmy Butler. More importantly, they can access an easy-
               to-read crypto primer to better understand the basics of crypto. 6




 6
          https://www.binance.com/en/blog/community/binance-unites-j-balvin-jimmy-butler-and-
 valentina-shevchenko-to-take-on-big-game-crypto-ads-invites-fans-to-sound-the-cryptocelebalert-
 and-trust-themselves-to-learn-crypto-421499824684903392.
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          25.      Jimmy Butler, one of the featured celebrities promoting BINANCE, has played for

 the past several seasons for the National Basketball Association’s Miami Heat, where he has over

 6,500,000 followers on Instagram, more than 2,500,000 followers on Facebook, and more than

 800,000 followers on Twitter.

          26.      As Mr. Butler himself espouses in the video on CryptoCelebAlert.com: “BINANCE

 and I, we’re here to tell you: Trust yourself, and do your own research.”




 Mr. Butler -- a Miami-based celebrity with a legion of fans across South Florida and elsewhere -- is

 clearly promoting BINANCE’s business interests in this jurisdiction to his many followers.

          27.      Technology has opened up new avenues for solicitation. A new means of solicitation,

 though, is not any less of a solicitation.

          28.      In addition, many other cryptocurrency owners in the United States use BINANCE’s

 services -- even where those services are not permitted by law and where BINANCE publicly claims

 it does not provide its services.



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        29.     While BINANCE publicly claims it does not permit United States-based customers to

 use its services -- something it purports to monitor by tracking the geo-location of the IP Address

 used by the customer to login to BINANCE -- that supposed barrier is easily overcome through

 methods of which BINANCE is well-aware and which BINANCE tacitly permits.

        30.     To evade geo-location tracking monitors, a customer need only use a Virtual Private

 Network (VPN) that spoofs the user’s actual location. Instead of marking his/her IP Address with a

 location in the United States, the BINANCE user employs a VPN so that BINANCE’s records will

 reflect that the user is logging in from a non-U.S. territory that is supported by BINANCE.

        31.     One such VPN is PureVPN, which describes the simple process thusly:




        32.     As PureVPN explains, as long as the location the user choose through his/her VPN

 is a non-U.S. country supported by BINANCE, the user’s log-in to BINANCE will proceed

 unfettered:




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        33.     BINANCE is readily aware that U.S.-based users -- including those based within this

 jurisdiction -- utilize VPN services to access BINANCE; and BINANCE does not prevent such use.

        34.     To the extent BINANCE claims it has no or few users in this jurisdiction, that claim

 is belied by the number of BINANCE accountholders in this jurisdiction who take simple steps (well

 known to BINANCE) to evade BINANCE’s lax barriers to entry.

        35.     A July 2021 report by Inca Digital (a data firm whose technology is used by the U.S.

 Commodity Future Trading Commission for investigations and market surveillance) highlighted this

 fact by noting that hundreds of Americans use VPNs to trade cryptocurrency on BINANCE in a

 manner that is “an open secret in the industry.”

        36.     Upon information and belief, even document production from BINANCE would not

 definitively demonstrate that U.S.-based users do not use VPNs to access BINANCE’s platforms, as


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  it is not believed that BINANCE tracks such things; and IP Address records for BINANCE users are

  often tainted with spoofed IP Addresses through this simple method of entry.

          37.     Venue of this action is proper in this Court pursuant to 28 U.S.C. § 1391 because at

  least one Defendant resides in this jurisdiction and the causes of action accrued in this jurisdiction.

                                 GENERAL FACTUAL ALLEGATIONS

          38.     At times material hereto, Plaintiff maintained an account at U.S.-based cryptocurrency

  exchange Payward, Inc. d/b/a Kraken (“Kraken”).

          39.     At times material hereto, Plaintiff maintained in his Kraken account a cryptocurrency

  investment portfolio that included Ether (ETH).

          40.     On or about November 9, 2021, an unknown and unauthorized JOHN DOE

  infiltrated Plaintiff’s Kraken account.

          41.     As a direct result of the foregoing, JOHN DOE -- on November 9, 2021 -- stole from

  Plaintiff 105.3267172 ETH that had been stored in Plaintiff’s Kraken account.

          42.     Undersigned counsel engaged international cryptographic tracing and investigative

  firm Coinfirm to trace the ETH transferred and withdrawn without authorization from Plaintiff’s

  Kraken account.

          43.     As concluded by Coinfirm, the 105.3267172 ETH transferred from Plaintiff’s Kraken

  account were transferred in a series of transactions to a collection of deposit addresses at BINANCE

  (the “BINANCE Addresses”) believed to be owned, controlled, and maintained by JOHN DOE, to

  wit:




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                                                                                      Transfer         Funds under claim
   Owner                                                                                                  (average confirmed
   (Address          Address To                     Transaction Hash                   Date                 with five tracing
     To)                                                                                (UTC)           methodologies; stated
                                                                                                        in cryptocurrency unit)
                                                4d31c55570c760057f6d4d
               622f12f2042a14d8edfe4                                                 2021-11-10
   Binance                                      2a3e07b5ce6cd9478bc072                                   3.00000000 ETH
                97e561fb06ec004041d                                                   15:15:17
                                                 e418e8f211d593f19d07

                                                5fec5a6af929ec972910c1b
               622f12f2042a14d8edfe4                                                 2021-11-10
   Binance                                      569a9d012b46f000bff5d5                                   2.00000000 ETH
                97e561fb06ec004041d                                                   15:33:50
                                                  c7e5c47bb07a5c8b075

                                                0a265c5ac530b171120808
               858a6c78e580ffe717708                                                 2021-11-10
   Binance                                      d22fa60539ea6494a98d8d                                   1.00000000 ETH
                d6e5c6bf99ac48d9119                                                   15:00:43
                                                 7f4ece537753b7638db7
                                               a9d25b002254d3d814f102
               895806b5f3ea6e9e5424f                                                 2021-11-10
   Binance                                     3a7479a530d6131a1a59d5                                    2.00000000 ETH
                acdc1384b658f34b76a                                                   16:03:18
                                                 a5914402d2a2f14e5ef8

                                               952553671c0a82dadc6d8d
               89f62cfca6e557e378b8c                                                 2021-11-10
   Binance                                     20f418ac9bbf6786b2d139                                    2.00000000 ETH
               04c0640298db0a5a0d4                                                    16:31:23
                                                35246bf89fdb0e9f6865

                                                5c9cd5b97641c15fd6aadc
               89f62cfca6e557e378b8c                                                 2021-11-10
   Binance                                      5ba8463f54ae477a658d09                                   2.00000000 ETH
               04c0640298db0a5a0d4                                                    18:29:27
                                                 599ca9e7acecfba0808b

                                               bee8397d5bbcebfedf83a0
               a3f033550f285d7a830c3                                                 2021-11-10
   Binance                                     2226c10ec8defabf4c456a2                                   4.00000000 ETH
                8059001e02b73dc9114                                                   12:05:04
                                                 10d84a2fac4003137cc

                                                0b3f7649774cd493ecc265
               a3f033550f285d7a830c3                                                 2021-11-11
   Binance                                      c41c3ff4102889c0fb7f158                                  5.00000000 ETH
                8059001e02b73dc9114                                                   19:23:36
                                                  0e2d75f8b53fc4058ca

                                               de8cbcf69f0ec3205ce5a6f
               a3f033550f285d7a830c3                                                 2021-11-12
   Binance                                     82b41f2145033e7d851b12                                    4.00000000 ETH
                8059001e02b73dc9114                                                   18:13:22
                                                 49c3e0a6b116a2539fa

                                                                                        TOTAL                 25 ETH

         44.     In addition to the foregoing addresses at BINANCE to which Plaintiff’s stolen assets

  were sent, Coinfirm has traced Plaintiff’s stolen assets to the following addresses (the “JOHN DOE

  Secondary Addresses”) as well:

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                                                                                    Funds under claim
                                                                             (average confirmed with five tracing
                      Destination Address
                                                                                    methodologies; stated
                                                                                    in cryptocurrency unit)

          02fadfc01cbf2a2062a80b7412e84b65ffe1cf07                                    54.30447457 ETH
         685463bc1b52f23313d30ef706f58c4a7be40d57                                     15.00000000 ETH
         685463bc1b52f23313d30ef706f58c4a7be40d57                                     8.00035963 ETH
         079dbd798a04310dd3a4c7d8886c26e5832e6d39                                     5.99972524 ETH
         4721f2f31bb5baa827d7bb62b598ea1221dfb996                                     1.00000000 ETH
         3841221017f8b9a662843674408d2786270b2208                                     0.01407463 ETH
                               TOTAL                                                 84.31863407 ETH

         45.     On January 7, 2022, undersigned counsel provided written notice to BINANCE

  advising BINANCE of the theft and requesting that, if the stolen assets were still located in the

  account(s) tied to the BINANCE Addresses, BINANCE freeze the account(s) controlling those

  addresses so the assets could not be withdrawn from those addresses.

         46.     Upon information and belief, the assets at issue are still housed at BINANCE.

         47.     As of the date of this filing, the 25 ETH located at BINANCE are valued at

  approximately Sixty-Five Thousand Dollars ($65,000.00).

         48.     Despite being one of the world’s largest cryptocurrency exchanges, BINANCE’s

  “Know Your Customer” and Anti-Money Laundering protocols (KYC/AML) are shockingly lax and

  do not measure up to industry standards. Thieves are able to launder stolen cryptocurrency through

  BINANCE because BINANCE has failed to implement security measures that are standard

  throughout the industry.

         49.     During the times relevant to this action, and continuing to date, BINANCE has

  facilitated money laundering by allowing deposits and withdrawals of up to two (2) bitcoin per day

  though the Binance.com exchange without any form of identification verification. To launder stolen

  bitcoin, a person creates an account by accessing the BINANCE website. To trade or withdraw up
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  to two (2) bitcoin per day, the user does not need to provide even the most basic identifying

  information, such as name, date of birth, address, or other identifiers. All BINANCE requires is a

  password and an email address. Unlike legitimate virtual currency exchanges, BINANCE does not

  require these users to validate their identity information by providing official identification documents,

  given that BINANCE does not require an identity at all. Accounts are therefore easily opened

  anonymously, including by users in the United States within Florida.

          50.     BINANCE’s practice enabled, and still enables, skillful cryptocurrency hackers and

  thieves to steal cryptocurrency and launder it by breaking the cryptocurrency into amounts of two (2)

  bitcoin or less, depositing it, converting the illegally-obtained asset, and withdrawing it -- all without

  providing identification.

          51.     As noted above, BINANCE had actual knowledge that cryptocurrency stolen from

  Plaintiff had been transferred to addresses and accounts on BINANCE’s exchange. BINANCE had

  the ability to freeze those accounts and stop transactions on its exchange involving the stolen

  cryptocurrency and return the funds to Plaintiff. BINANCE could have done so before some or all

  of the stolen cryptocurrency left the BINANCE exchange; however, BINANCE provided no

  response to Plaintiff’s plea for assistance and an appropriate remedy. To the extent Plaintiff’s stolen

  assets are no longer at BINANCE, BINANCE either intentionally or negligently failed to interrupt

  the money laundering process when it could have done so.

          52.     Since its founding, BINANCE has grown at an enormous rate. In October 2019, a

  cryptocurrency industry publication reported BINANCE had crossed the $1 billion profit threshold.

          53.     BINANCE’s profits are derived in part from the fees BINANCE receives for

  transactions on the BINANCE exchange, including trades in which stolen bitcoin is exchanged for

  other cryptocurrency or fiat, and in part from the frequency and volume of trading that helps enhance

  and maintain the liquidity that is essential to an efficient and profitable exchange. In other words,

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  BINANCE has a strong monetary incentive to encourage, facilitate, and allow as many transactions

  on its exchange as possible -- including transactions involving stolen cryptocurrency.

          54.      As a direct and proximate result of BINANCE’s policies and failures, Plaintiff -- and

  upon information and belief, additional residents of this judicial district -- suffered financial harm

  when his/their bitcoin was stolen and laundered through BINANCE.

          55.      As a result of the actions described above, Plaintiff has suffered damages in an amount

  that will be proven at trial.

          56.      Plaintiff duly performed all of his duties and obligations; and any conditions precedent

  to Plaintiff bringing this action have occurred, have been performed, or have been excused or waived.

          57.      To enforce his rights, Plaintiff has retained undersigned counsel and is obligated to

  pay counsel a reasonable fee for its services.

                                          COUNT I – CONVERSION
                                            [AGAINST JOHN DOE]

          Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 - 57 above, and further alleges:

          58.      On November 9, 2021, at the time of the theft, Plaintiff owned and had the right to

  immediately possess the 105.3267172 ETH -- not just a mere right to payment for the value of those

  bitcoin -- that was taken from him and transferred to, inter alia, the account tied to the BINANCE

  Addresses and the JOHN DOE Secondary Addresses.

          59.      When the stolen bitcoin was deposited by a thief/thieves into the BINANCE Addresses

  and the JOHN DOE Secondary Addresses, JOHN DOE intentionally took possession of and assumed

  control over the 105.3267172 ETH.

          60.      JOHN DOE has intentionally exercised control, and continues to exercise control,

  over the bitcoin in such a way as to exclude Plaintiff from using or possessing the 105.3267172 ETH.

          61.      JOHN DOE knew the property he received was stolen or obtained in a manner

  constituting theft.
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          62.     As such, JOHN DOE wrongfully converted the 105.3267172 ETH.

          63.     JOHN DOE -- through actual fraud, misappropriation, conversion, theft, or other

  questionable means -- obtained Plaintiff’s cryptocurrency, which in equity and good conscience JOHN

  DOE should not be permitted to hold.

          64.     The cryptocurrency assets at issue are specific, identifiable property and can be traced

  in assets of JOHN DOE’s account(s) at BINANCE and elsewhere.

          65.     As a direct and proximate result of the foregoing, Plaintiff suffered the wrongful

  conversion of personal property whose value exceeds Seventy-Five Thousand Dollars ($75,000.00).

          WHEREFORE, Plaintiff ULISES FERNANDEZ MIRO demands entry of a judgment

  against Defendant JOHN DOE, an individual; for damages, including compensatory damages,

  interest, expenses, and any other relief the Court deems just and proper, including imposition of a

  constructive trust upon the property taken from Plaintiff that is held by JOHN DOE in an account(s)

  at BINANCE and elsewhere.

                     COUNT II – AIDING AND ABETTING CONVERSION
                                    [AGAINST BINANCE]

          Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 - 57 above, and further alleges:

          66.     As noted above, JOHN DOE -- through actual fraud, misappropriation, conversion,

  theft, or other questionable tortious violations -- obtained Plaintiff’s cryptocurrency, which in equity

  and good conscience JOHN DOE should not be permitted to hold.

          67.     BINANCE has actual knowledge that cryptocurrency stolen from Plaintiff had been

  transferred to addresses and accounts on BINANCE’s exchange by or to JOHN DOE.

          68.     Notwithstanding the actual knowledge of the theft of Plaintiff’s cryptocurrency and

  the custody of those stolen assets in JOHN DOE’s account at BINANCE, BINANCE did not halt

  the further movement of those stolen funds; which allowed JOHN DOE to abscond with, and convert

  to his own benefit, Plaintiff’s property.
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          69.     BINANCE has rendered substantial assistance to JOHN DOE in his commission of

  the fraud, misappropriation, conversion, theft, or other questionable tortious activity through which

  JOHN DOE obtained Plaintiff’s cryptocurrency.

          70.     In addition, BINANCE rendered substantial assistance to JOHN DOE by ignoring

  its own internal policies and procedures and by knowingly maintaining inadequate KYC/AML policies

  which enable skillful cryptocurrency hackers and thieves such as JOHN DOE to steal cryptocurrency

  and launder it through the BINANCE ecosystem without providing identification.

          WHEREFORE, Plaintiff ULISES FERNANDEZ MIRO demands entry of a judgment

  against Defendant BINANCE HOLDINGS, LTD. d/b/a Binance, a foreign company; for damages,

  including compensatory damages, interest, expenses, and any other relief the Court deems just and

  proper, including imposition of a constructive trust upon the property taken from Plaintiff that is held

  by JOHN DOE in an account(s) at BINANCE.

                                        DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a trial by jury on all claims so triable.

                                        RESERVATION OF RIGHTS

          Plaintiff reserves his right to further amend this Complaint, upon completion of his

  investigation and discovery, to assert any additional claims for relief against Defendants or other

  parties as may be warranted under the circumstances and as allowed by law.




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                                                                                                 Complaint for Damages


                                                                Respectfully submitted,

                                                                SILVER MILLER

                                                                By: /s/ David C. Silver
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  Dated: March 14 , 2022




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